       Case 2:21-cv-04403-MMB Document 1 Filed 10/06/21 Page 1 of 12



               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                           CIVIL ACTION


MICHAEL SCIORE                          :
             Plaintiff                  :   Case No.   2:21-cv-4403
                                        :
            v.                          :   COMPLAINT
                                        :
THAO TRAN and                           :
KEVIN CHING                             :
            Defendants                  :

  Plaintiff, Michael Sciore, brings this action against Defendants, Thao Tran and

Kevin Ching, alleging defamation and interference with business relationships.

                            STATEMENT OF CASE
  1. This is an action for recovery of damages and injunctive relief arising from

blatant acts of defamation and tortious interference with existing and prospective

contracts in connection with the persistent publishing of defamatory reviews by the

Defendants on Yelp.com regarding Plaintiff.

  2. The Defendants created, or caused to be created, reviews for the purpose of

publishing false and defamatory statements (the “Defamatory Reviews”). The

Defendants’ Defamatory Reviews, upon information and belief, were viewed by

thousands of visitors, and Plaintiff continues to feel the damaging effects of the

Defendants’ false statements.

  3. As a result of Defendants’ misconduct, Plaintiff has been and continues to be

substantially and irreparably harmed.
        Case 2:21-cv-04403-MMB Document 1 Filed 10/06/21 Page 2 of 12



                                   PARTIES
  4. Plaintiff Michael Sciore is an entrepreneur who has built a well-respected

business providing Spanish-language radio programming to the Southern New Jersey-

Philadelphia metropolitan area. In addition to these business pursuits, Mr. Sciore

opened and closed a restaurant, Ardiente, in Old City Philadelphia.

  Mr. Sciore is domiciled at 14366 Charthouse Circle, Naples, FL 34114 and is a

citizen of the State of Florida.

  5. On information and belief, Defendant Thao Tran is domiciled at 626 Reed Street,

Philadelphia, PA, 19147 and is a citizen of the Commonwealth of Pennsylvania.

  6. On information and belief, Defendant Kevin Ching is domiciled at 1309 South

Reese Street, Philadelphia, PA 19147 and is a citizen of the Commonwealth of

Pennsylvania.

                         JURISDICTION AND VENUE
  7. This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1332, as this is an action between citizens of different states and the amount

in controversy exceeds $75,000.

  8. This Court has personal jurisdiction over the Defendants because they subjected

themselves to this Court’s jurisdiction by invoking the benefits and protections of this

State in an attempt to cause harm within the State and upon information and belief

reside within the State. The Defamatory Reviews specifically targeted and identified

Plaintiff’s former restaurant in this State and have caused injury within the State.

  9. Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(1) and (2).
          Case 2:21-cv-04403-MMB Document 1 Filed 10/06/21 Page 3 of 12



                 BACKGROUND COMMON TO ALL CLAIMS
   10.Plaintiff Sciore operated a restaurant, Ardiente.

  11. Mr. Sciore is a respected businessman and member of the Philadelphia and

Southern New Jersey communities, particularly the Spanish-speaking communities.

Mr. Sciore has a long history of success owning and running Spanish-language radio

in these communities. Mr. Sciore opened, and recently closed, this restaurant in the

Old City neighborhood of Philadelphia.

  12. Ardiente was a Latin-Asian fusion restaurant which Mr. Sciore was forced to

close.

  13. Ardiente had a Yelp.com profile where diners or customers can post reviews.

Ardiente’s profile is located at:

         • https://www.yelp.com/biz/ardiente-philadelphia

  14. In the approximately two months it had been in business prior to the events

underlying this Complaint, Ardiente had received stellar reviews on Yelp.com.

  15. However, Plaintiff acknowledges that as with many restaurants, some customers

will unfortunately find that their meals, drinks, or overall experience may not live up

to their expectations.

  16. While most of Plaintiff’s customers have shared their opinions in a lawful and

reasonable manner, some customers have chosen to voice false and defamatory

accusations on Yelp, as described below.
        Case 2:21-cv-04403-MMB Document 1 Filed 10/06/21 Page 4 of 12



                          The Thao T. Defamatory Review

  17. On or about July 12, 2018, Defendant Thao Tran, with the username “Thao T.,”

directed the authoring of a harassing and defamatory user review of Plaintiff on

Yelp.com (formerly accessible to the public on the Internet at:

https://www.yelp.com/biz/ardiente-philadelphia?hrid=rCJxg7ctsOTAzuLHN09KA&

utm_campaign=www_review_share_popup&utm_medium=copy_link&utm_source=

(direct)) (the “Thao T. Defamatory Review”).

  18. Specifically, the Thao T. Defamatory Review stated as follows:


              This place is terrible!! Not worth your money
              and certainly not worth your calories!! Came here
              with a group of people and did not have a good
              experience at all. Their portion was very small and
              distasteful & definitely not filling. Honestly, you're
              better off ordering from your local chinese corner
              store. I don't understand the 5 star reviews on here
              because I've never had such a terrible experience;
              came here hungry, left still hungry lol. The best
              thing they had was when i ordered chicken tenders
              and fries for my daughter haha [Emphasis added].


  19. The Thao T. Defamatory Review is false. Defendant Thao Tran directed the

dissemination of the Thao T. Defamatory Review in such a fashion that no reasonable

person would believe that the statements made therein were opinion, but rather

statements of fact about Plaintiff.
        Case 2:21-cv-04403-MMB Document 1 Filed 10/06/21 Page 5 of 12



  20. The above statements are knowingly and materially false and were made to

defame Plaintiff.

  21. Upon information and belief, Defendant Thao Tran published the Thao T.

Defamatory Review for the sole purpose of harming Plaintiff’s reputation and causing

him to lose revenue as the statements in the Thao T. Defamatory Review bear directly

on Plaintiff’s services, professional capabilities, business practices, and treatment of

his clients— all key aspects of Plaintiff’s business and factors that any diner considers

before choosing where to eat.

  22. The Thao T. Defamatory Review was intentionally written to falsely suggest

Plaintiff served individual entrée portions to Defendant Thao Tran and his daughter,

and that the food was not edible. The Thao T. Defamatory Review intentionally

omitted/failed to disclose that Plaintiff provided the food to be served family style and

portioned appropriately per an agreement between Plaintiff’s restaurant and the host of

the event.

  23. Plaintiff provided the services and goods for which he was hired, namely a

tasting menu for a private birthday party.

  24. Accordingly, a reasonable reader would understand Thao T.’s Defamatory

Review to mean Plaintiff did not provide the services and goods he was contracted to

provide.

  24. It is not possible that the allegations in the Thao T. Defamatory Review are true.

  25. Accordingly, the Thao T. Defamatory Review is undeniably false.
        Case 2:21-cv-04403-MMB Document 1 Filed 10/06/21 Page 6 of 12



                          The Kevin C. Defamatory Review

  26. On or about July 15, 2018, Defendant Kevin Ching, with the username “Kevin C.,”

directed the authoring of a harassing and defamatory user review of Plaintiff on

Yelp.com (formerly accessible to the public on the Internet at:

https://www.yelp.com/biz/ardiente-philadelphia?hrid= PxNWCdqfON3rN6iuBZUg1g

&utm_campaign=www_review_share_popup&utm_medium=copy_link&utm_source

=(direct))   (the “Kevin C. Defamatory Review;” collectively with the Thao T.

Defamatory Review, the “Defamatory Reviews”).

  27. Specifically, the Kevin C. Defamatory Review stated as follows:


              Had high expectations after perusing their menu and
              reading prior reviews beforehand. However, not
              only was I disappointed but insulted by how our
              party was treated from the owner himself. Food
              itself was mediocre and too salty to be palatable.
              Our first 5-6 courses of the tasting menu consisted
              of underwhelming veggie or carb dishes. The last
              two courses were supposed to be the short ribs and
              Cornish hen but they ran out after serving only a few
              morsels of each. How this restaurant failed to
              prepare for this event with a month's notice is
              beyond me and will steer clear from this place
              indefinitely. [Emphasis added].


  28. The Kevin C. Defamatory Review is false. Defendant Kevin Ching directed the

dissemination of the Kevin C. Defamatory Review in such a fashion that no reasonable

person would believe that the statements made therein were opinion, but rather

statements of fact about Plaintiff.
        Case 2:21-cv-04403-MMB Document 1 Filed 10/06/21 Page 7 of 12



  29. The above statements are knowingly and materially false and were made to

defame Plaintiff.

  30. Upon information and belief, Defendant Kevin Ching published the Kevin C.

Defamatory Review for the sole purpose of harming Plaintiff’s reputation and causing

him to lose revenue as the statements in the Kevin C. Defamatory Review bear directly

on Plaintiff’s services, professional capabilities, business practices, and treatment of

his clients— all key aspects of Plaintiff’s business and factors that any diner considers

before choosing where to eat.

  31. It is not possible that the allegations in the Kevin C. Defamatory Review are true.

Plaintiff provided the services and goods for which he was hired, namely a tasting menu

for a private birthday party. The food provided was palatable and served family style

and portioned appropriately per the agreement between Plaintiff’s restaurant and the

host of the event.

  32. Further, contrary to the Kevin C. Defamatory Review, Plaintiff, the owner of

Ardiente, treated the attendees of the event courteously and respectfully. Accordingly,

the Kevin C. Defamatory Review is undeniably false.

                     Damage to Plaintiff’s Reputations and Business

  33. Plaintiff had contractual relationships with his customers and vendors.

  34. The Defendants scripted and caused to be disseminated the above statements in

order to interfere with Plaintiff’s contractual relationships with his customers and

vendors, and upon information and belief, to injure Plaintiff’s business by inducing
         Case 2:21-cv-04403-MMB Document 1 Filed 10/06/21 Page 8 of 12



Plaintiff’s customers and vendors and prospective diners to cease doing business with

Plaintiff.

  35. Since the appearance of the Defamatory Reviews, several customers have

claimed to have read the reviews and have called or messaged to inquire about the truth

of the false statements therein and, upon information and belief, cancelled scheduled

appointments and events with Plaintiff as a result.

  36. As a direct and proximate result of the Defendants’ defamatory conduct

described herein, a number of Plaintiff’s customers and prospective customers have

refused to patronize and/or continue to patronize Plaintiff’s business.

  37. The Defendants’ campaign to defame and injure Plaintiff via the Defamatory

Reviews has been a direct and proximate cause for Plaintiff’s restaurant to close. This

damage is in addition to the permanent and irreparable harm to Plaintiff’s professional

and personal reputation that the Defendants’ defamatory conduct has caused (and will

continue to cause unless enjoined).


                            FIRST CAUSE OF ACTION
                        [Defamation Per Se and Trade Libel]

  38. Plaintiff realleges and incorporates by reference Paragraphs 1 through 37 as

though fully set forth here.

  39. The Defendants have intentionally made knowingly false statements of fact

about Plaintiff via the Defamatory Reviews.
        Case 2:21-cv-04403-MMB Document 1 Filed 10/06/21 Page 9 of 12



  40. These statements were made maliciously and willfully and were intended to

cause harm to Plaintiff’s business and reputation.

  41. The aforementioned statements were false when made and the Defendants knew

or should have known that the statements were false when made.

  42. These statements were made maliciously and willfully and were intended to

cause harm to Plaintiff’s personal and professional reputation. The statements were

made with reckless disregard for their truth or falsity or with knowledge of their falsity

and with wanton and willful disregard of the reputation and rights of the Plaintiff.

  43. The aforementioned statements where made of and concerning Plaintiff and

were so understood by those who read the Defendants’ publication of them.

  44. Among other statements, the Defendants falsely accused Plaintiff of, inter alia,

not providing the services and goods Plaintiff was hired to provide.

  45. The Defendants’ false statements of fact tend to injure Plaintiff in his business

trade and/or profession.

  46. These statements were false and were published to third parties in this

jurisdiction and across the Internet.

  47. As a result of the Defendants’ acts, Plaintiff has suffered irreparable damage to

his reputation and further damages in the form of lost sales and profits, in an amount

to be determined at trial.

  48. As a result of the willful and malicious nature of the defamation, Plaintiff is

entitled to punitive damages.
        Case 2:21-cv-04403-MMB Document 1 Filed 10/06/21 Page 10 of 12



                            SECOND CAUSE OF ACTION
                [Tortious Interference with Contractual Relations and
             Tortious Interference with Prospective Contractual Relations]

  49. Plaintiff realleges and incorporates by reference Paragraphs 1 through 48 as

though fully set forth here.

  50. Plaintiff had existing contracts with Plaintiff’s customers, vendors, and

prospective diners and reasonably expected that its contractual relationships with same

would continue into the future.

  51. The Defendants knew of Plaintiff’s contracts.

  52. By the wrongful conduct described above, the Defendants internationally and

improperly without justification or privilege interfered with Plaintiff’s contracts with

Plaintiff’s customers, vendors, and prospective customers and did so with the intent

and purpose of damaging Plaintiff’s business and reputation.

  53. The Defendants’ interference caused Plaintiff’s customers, vendors, and

prospective customers confusion and caused same to cease doing business with

Plaintiff.

  54. As a result of the Defendants’ actions, Plaintiff has been and will continue to be

damaged in an amount to be determined at trial.

  55. Plaintiff has also suffered and will continue to suffer irreparable harm in the form

of damage to his reputation as a result of the Defendants’ conduct described herein.
       Case 2:21-cv-04403-MMB Document 1 Filed 10/06/21 Page 11 of 12



  56. While an award of damages may be adequate to compensate Plaintiff for the loss

of particular contracts or customers, an award of damages will not be adequate to

compensate Plaintiff for the damage to his reputation caused by Defendants.

  57. Plaintiff has suffered and will continue to suffer irreparable harm unless

injunctive relief is granted.



                                PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants awarding Plaintiff:

  1. a Permanent Injunction enjoining and restraining the Defendants and their

respective agents, servants, employees, successors and assigns, and all other persons

acting in concert with or in conspiracy with or affiliated with the Defendants, from

disparaging or otherwise posting defamatory comments about Plaintiff;

  2. an Order at the conclusion of the present matter directing the Defendants to

undertake such remedial efforts as the Court deems necessary to restore Plaintiff’s

reputation;

  3. actual damages in an amount to be determined at trial, no less than the requisite

jurisdictional amount in controversy for suit in this Court due to commercial

defamation per se and trade libel, and an order directing the Defendants and their

respective agents, servants, employees, successors and assigns, and all other persons

acting in concert with or in conspiracy with or affiliated with the Defendants, to

remove, delete, or otherwise disable such posts;
        Case 2:21-cv-04403-MMB Document 1 Filed 10/06/21 Page 12 of 12



   4. exemplary or punitive damages in an amount appropriate to punish the

Defendants and to make an example of the Defendants to the community;

   5. actual damages in an amount to be determined at trial, but in no event less than

$500,000, or than the requisite jurisdictional amount in controversy for suit in this

Court due to common law tortious interference;

   6. attorney’s fees and costs as permitted by law; and

   7. such other relief as the Court deems just and equitable under the circumstances.

Respectfully Submitted:
                                      WOLF BALDWIN & ASSOCIATES PC

                                      /s/ Joshua D. Macel
                                      Joshua D. Macel
                                      PA Attorney ID No. 310507
                                      800 E. High Street
                                      Pottstown PA 19464
                                      jmacel@wolfbaldwin.com
                                      Tel: (610) 323-7436


                                      LEWIS & LIN, LLC

                                      /s/ David D. Lin
                                      David D. Lin, Esq. (pro hac vice forthcoming)
                                      Michael D. Cilento, Esq. (pro hac vice forthcoming)
                                      77 Sands Street, 6th Floor
                                      Brooklyn, NY 11201
                                      David@iLawco.com
                                      Tel: (718) 243-9323
                                      Fax: (718) 243-9326

                                      Attorneys for Plaintiff
